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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :
        v.                                       :         CASE NO. 1:21-CR-268 (CJN)
                                                 :
 JEFFREY MCKELLOP                                :
                                                 :
        Defendant.                               :


                          MOTION FOR STATUS CONFERENCE

       The government respectfully requests a status conference in the above-captioned case.

       On November 22, 2023, the Court held a status conference. At the status conference, the

Court granted the defendant’s request to terminate the representation of his then-current counsel.

The Court indicated that it would appoint counsel for the defendant. The Court suspended the

current trial deadlines and trial date. Based on the defendant’s request for new counsel and the

need for additional time to find new counsel for the defendant, the Court tolled time under the

Speedy Trial Act until December 11, 2023, which was the start date of the now-continued trial.

       On November 29, 2023, Michael E. Lawlor filed a notice of appearance for the

defendant and on November 30, 2023, Adam C. Demetrious filed a notice of appearance for

the defendant. ECF Nos. 165, 166.

       On November 29, 2023, the government reached out to defense counsel to initiate the

process of providing discovery to counsel.

       The government now respectfully requests a status conference. At the status

conference, the government proposes that the Court set a new trial date and hear the parties

on tolling of time under the Speedy Trial Act.




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                                              Respectfully submitted,

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